Case 2:01-cV-02780-SHI\/|-STA Document 251 Filed 05/16/05 Page 1 of 3 Page|D 291

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

THE CLARK CONSTRUCTION GROUP, INC.,
Plaintiff,

VS. NO. 01-2780-Ma/An

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER GRANTING LEAVE TO FILE REPLY MEMORANDUM

 

Before the court is the May 5, 2005 motion by Plaintiff to file a reply memorandum in
support of its application for attomey’s fees. F or good cause shown, the motion is granted

IT IS So oRDERED thile delay ofMay, 2005.

jM/w_.,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thts document entered on the docket sheet ln compliance

, £,
l _. f
with mate 53 and/or 19{3) FHCP nn s 2 [ Z~Oa

 

   

UND11E` S1AE1S D11R1C1 COUR1- WESTER 11181C 0F1ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 251 in
case 2:01-CV-02780 Was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed

 

 

.1 effrey R. Gans

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Christopher 1\/1. Caputo
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Michael I. Less

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Case 2:01-cV-02780-SHI\/|-STA Document 251 Filed 05/16/05 Page 3 013 Page|D 293

Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

.1 oseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

.1 ohn W. Ralls

THELEN REID & PRIEST
101 Second Street

18th Fl.

San Francisco, CA 94105

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

.1 ames R. Nerand

THELEN REID & PRIEST
Market Square

Ste. 800

701 Pennsylvania Ave.7 N.W.
Washington, DC 20004

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

